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IN THE UNITED STATES DISTRICT cOURT §§sz '~ » »

EASTERN DISTRICT OF ARKANSAS

ERIC BALDWIN,

a/k/a “E”; a/k/a “LIL’ E”
NICHOLAS D. ROBINSGN, JR.,
a/k/a “LIL’ NICK”;

KHAMBRIA ALLEN;

JOHN BGWMAN;

JOHN CHRISTOPHER BURCH;
JUSTIN COLLINS,

KAMIE COLLINS;

RODERICK ISOM;

JASON FLOWERS;

WINDELL FOUNTAIN;

a/k/a “CHARLIE”;
JENNIFER GOSNELL;

BLAKE GRAY;

DEKETRIC HARPER, a/k/a “DEE”;
AUNDRE LAMAR JONES;
PATRICIA JANAE KENNON;
CHAD LANE;

ROBERT MCINTOSH, HI;

LEWIS MILES,

a/k/a “POOTIE ROO”;
AARON LYNN PARKS;
DEAUNDREY PEOPLES;
RYAN RIELLY;

JOSEPH RIGGINS, JR.;
NICHOLAS D. ROBINSON, SR.;
CHRISTOPHER SANDERS,

a/k/a “CHRIS REPP”;
FRANCIS ANDRE SCGTT;
LEMAR DEV()N STEWARD;
AUTUMN LYNN TALLEY;
APRIL TREAT, a/k/a “APRIL CULLUM”;
LORENE WILHITE;

ORTEZ WILLIAMS; and
GEORGE PERRY WRIGHT

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18 U.S.C. § 922(§)
18 U.S.C. § 924(@)

21 U.S.C. § 841(&)(1),(13)(1)(21)
21 U.S.C. § 841(3)(1),(1»)(1)(13)
21 U.S.C. § 841(8)(1),(1>)(1)(€)
21 U.S.C. § 841(3)(1),(1»)(1)(1))
21 U.S.C. § 843(b)

21 U.S.C. § 846

18 U.S.C. § 1956(3)(1)(A)(1)

18 U.S.C. § 1956(3)(1)(13)(1)

18 U.S.C. § 1956(11)

26 U.S.C. § 5861(d)

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INDICTMENT
THE GRAND JURY CHARGES:

COUNT 1
Beginning on a date unknown to the Grand Jury but at least as early as in or about
August 2016, and continuing up to and including the date of the return of this lndictment,
in the Eastern District of Arkansas, and elsewhere,

ERIC BALDWIN, a/k/a “”,E a/k/a “LIL’ E”;
NICHoLAs D. RoBINsoN, JR., a/k/a “LIL’ NICK”;

JoHN BoWMAN;

JoHN CHRISTOPHER BURCH
JUSTIN CoLLINS, a/k/a “DoBBER”;

KAMIE CoLLINs;

RoDERICK ISoM;

JASoN FLowERs;

wINDELL FoUNTAIN, a/k/a “CHARLIE”;
BLAKE GRAY;
DEKETRIC HARPER, a/k/a “DEE”;
CHAD LANE;
RoBERT MclNTosH, III;
LEwIS MILES, a/k/a c‘PooTlE Roo”;
AARON LYNN PARKS;
DEAUNDREY PEoPLES;
RYAN RIELLY;
NICHoLAs D. RoBINsoN, sR.;
CHRIsToPHER sANDERS, a/k/a “CHRIS REPP”;
FRANCIS ANDRE sCoTT;
LEMAR DEVoN sTEWARI);
APRIL TREAT, a/k/a “APRIL CULLUM”;
oRTEZ wILLIAMs; and
GEoRGE PERRY WRIGHT,

defendants herein, conspired and agreed with each other, and with others known and
unknown to the grand jury, to knowingly and intentionally possess with intent to distribute

and to distribute Schedule l and ll controlled substances, nainely, mixtures or substances

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containing a detectable amount of methamphetamine, oxycodone, and marijuana, in
violation of Title 21, United States Code, Section 84l(a)(l), (b)(l)(A), (B), (C), and (D).

With respect to defendants ERIC BALDWIN, a/k/a “E”; a/k/a “LIL’ E”;
NICHOLAS D. ROBINSON, JR., a/k/a “LIL’ NICK”; JOHN BOWl\/IAN; JOHN
CHRISTOPHER BURCH; JUSTIN COLLINS, a/k/a “DOBBER”; JASON FLOWERS;
WINDELL FOUNTAIN, a/k/a “CHARLIE”; BLAKE GRAY; DEKETRIC HARPER,
a/k/a “DEE”; CHAD LANE; ROBERT MclNT()SH, lll; LEWIS MILES, a/k/a “POOTIE
ROO”; AARON LYNN PARKS; DEAUNDREY PEOPLES; RYAN RIELLY;
NICHGLAS D. ROBINSON, SR.; FRANCIS ANDRE SCOTT; LEl\/IAR DEVGN
STEWARD; and APRIL TREAT, a/k/a “APRIL CULLUl\/l”, the amount of
methamphetamine, a Schedule ll controlled substance, involved in the conspiracy
attributable to each of them as a result of his or her own conduct, and the conduct of other
co-conspirators reasonably foreseeable to him or her, is 500 grams or more of a mixture
and substance containing a detectable amount of methamphetamine, in violation of Title
Zl, United States Code, Section 84l(b)(l)(A).

With respect to defendants KAl\/llE COLLINS; CHRISTOPHER SANDERS, a/k/a
“CHRIS REPP”; and ORTEZ WlLLlAl\/IS, the amount of methamphetamine, a Schedule
ll controlled substance, involved in the conspiracy attributable to each of them as a result
of his or her own conduct, and the conduct of other co~conspirators reasonably foreseeable
to him or her, is 50 grams or more, but less than 500 grams, of a mixture and substance
containing a detectable amount of methamphetaminej in violation of Title 21 , United States

Code, Section 841(b)(l)(B).

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With respect to defendants ERIC BALDWIN, a/l</a c‘E”, a/k/a “LIL’ E”;
NlCHOLAS D. ROBINSON, JR., a/k/a “LlL’ NlCK”; GEORGE PERRY WRIGHT; and
CHAD LANE, the amount of marijuana, a Schedule l controlled substance, involved in the
conspiracy attributable to each of them as a result of his own conduct, and the conduct of
other co-conspirators reasonably foreseeable to him, is more than 50 kilograms, in violation
of Title Zl, United States Code, Section 84l(b)(l)(C).

With respect to defendants ROBERT l\/lclNTOSH, lll; RYAN RlELLY; LEMAR
DEVON STEWARD, NICHOLAS D. ROBINSON, SR., and DEKETRIC HARPER, a/k/a
“DEE”, the amount of marijuana, a Schedule l controlled substance, involved in the
conspiracy attributable to each of them as a result of his own conduct, and the conduct of
other co-conspirators reasonably foreseeable to him, is less than 50 kilograms, in violation
of Title 21, United States Code, Section 84l(b)(l)(D).

1 Defendants ERlC BALDWIN, a/l</a “E”, a/k/a “LlL’ E”; FRANCIS ANDRE
SCOTT; JUSTIN COLLINS, a/k/a “DOBBER”; CHAD LANE; and RODERICK lSOl\/l
conspired to knowingly and intentionally possess with intent to distribute oxycodone, a
Schedule ll controlled substance, in violation of Title 21, United States Code, Section
841(3)(1), (b)(l)(C)~

All in violation of Title 21, United States Code, Section 846.

§_QU_N_I._Z_

Beginning on a date unknown to the Grand lury but at least as early as in or about

August 2016, and continuing up to and including the date of the return of this lndictment,

in the Eastern District of Arkansas, and elsewhere, the defendants,

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ERIC BALDWIN, a/k/a “E”, a/k/a “LIL’ E”;
NICHOLAS D. ROBINSON, JR., a/k/a “LIL’ NICK”;
KHAMBRIA ALLEN;

J()HN CHRISTOPHER BURCH
JUSTIN COLLINS, a/k/a “DOBBER”;
KAMIE C()LLINS;

JENNIFER GOSNELL;

AUNDRE LAMAR JONES;

PATRICIA JANAE KENNON;

CHAD LANE;

R()BERT McINTOSH, III;

LEWIS MILES, a/k/a “POOTIE ROO”;
CHRISTOPHER SANDERS, a/k/a “CHRIS REPP”;
FRANCIS ANDRE SCOTT;

AUTUMN LYNN TALLEY; and
LGRENE WILHITE,

voluntarily and intentionally conspired with each other and with others, known and
unknown to the Grand lury, to commit certain offenses under Title 18, United States Code,
Section l956(a)(l), namely:

(a) to knowingly conduct and attempt to conduct a financial transaction affecting
interstate commerce, which financial transaction involved the proceeds of a specified
unlawful activity, that is: the distribution of controlled substances, with the intent to
promote the carrying on of specified unlawful activity, that is: the distribution of controlled
substances, and that while conducting and attempting to conduct such financial transaction
knew that the property involved in the financial transaction represented the proceeds of

some form of unlawful activity in violation of Title 18, United States Code, Section

1956(3)(1)(A)(i); and

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(b) to knowingly conduct and attempt to conduct a financial transaction affecting
interstate commerce, which financial transaction involved the proceeds of a specified
unlawful activity, that is: the distribution of controlled substances, knowing that the
financial transaction was designed in whole or in part to conceal or disguise the nature,
location, source, ownership, or control of the proceeds of said specified unlawful activity,
and that while conducting such financial transaction knew that the property involved in the
financial transaction represented the proceeds of some form of unlawful activity, in
violation of Title 18, United States Code, Section 1956(a)(l)(B)(i).

All iii violation of Title lS, U.S.C. Section l956(h).

COUNT 3
On or about Febiuary l5, 2017, in the Eastern District of Arkansas, the defendant,
RODERICK ISOM,
did knowingly and intentionally distribute oxycodone, a Schedule ll controlled substance,
thereby violating Title 21, United States Code, Sections 84l(a)(l) and 84l (b)(l)(C).
_C_Q_ll_l`.l_T_é
On or about February 23, 2017, in the Eastern District of Arkansas, the defendant,
RODERICK ISOM,
did knowingly and intentionally distribute oxycodone, a Scliedule ll controlled substance,
thereby violating Title 21, United States Code, Sections 84l(a)(l) and 84l(b)(l)(C).
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On or about l\/larch 28, 2017, in the Eastern District of Arkansas, the defendant,

RODERICK ISOM,

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did knowingly and intentionally distribute oxycodorie, a Schedule ll controlled substance,
thereby violating 'l`itle 21, United States Code, Sections 84l(a)(l) and 84l(b)(l)(C).
COUNT6
On or about June 29, 2017, in the Eastern District of Arkansas, the defendant,
RODERICK ISOM,
did knowingly and intentionally distribute oxycodone, a Schedule ll controlled substance,
thereby violating Title 21, United States Code, Sections 84l(a)(l) and 84l(b)(l)(C).
_C_Qlll_\lll
On or about August 22, 20l7, in the Eastern District of Arkansas, the defendaiit,
ERIC BALDWIN, a/k/a “E”, a/k/a “LIL’ E”,
did knowingly and intentionally distribute oxycodone, a Schedule ll controlled substance,
thereby violating Title 21, United States Code, Sections 84l(a)(l) and 84l(b)(l)(C).
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On or about August 30, 2017, in the Eastern District of Arkansas, the defendants,
ERIC BALDWIN, a/k/a “E”, a/k/a “LIL’ E”, and RODERICK IS()M,
did knowingly and intentionally distribute oxycodone, a Schedule ll controlled substance,
thereby violating 'l`itle Zl, United States Code, Sections 84l(a)(l) and 84l(b)(l)(C).
§_Q_l_ll_\l_'l_`£.
Gn or about August l0, 20l7, in the Eastern District of Arkansas, the defendant,

AAR()N LYNN PARKS,

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did knowingly and intentionally distribute more than 5 grams of actual methamphetamine,
a Schedule ll controlled substance, thereby violating Title 2l, United States Code, Sections
84l(a)(l) and 84l(b)(l)(B).
COUNT 10
On or about September 6, 20l7, in the Eastern District of Arkansas, the defendants,
ERIC BALDWIN, a/k/a “E”, a/k/a “LIL’ E”, and AARCN LYNN PARKS,
did knowingly and intentionally distribute more than 50 grams of actual methamphetamine,
a Schedule ll controlled substance, thereby violating Title 21, United States Code, Sections
84l(a)(l) and 84l(b)(l)(A).
COUNT 11
On or about September 26, 20 l 7, in the Eastern District of Arkansas, the defendants,
ERIC BALDWIN, a/k/a “E”, a/k/a “LIL’ E”, and ROBERT McINTOSH, III,
did knowingly and intentionally distribute more than 50 grams of actual methamphetamine,
a Schedule ll controlled substance, thereby violating Title 21, United States Code, Sections
84l(a)(l) and 84l(b)(l)(A).
COUNT 12
On or about November l, 2017, in the Eastern District of Arkansas, the defendant,
ERIC BALDWIN, a/k/a “E”,~ a/k/a “LIL’ E”,
did knowingly and intentionally distribute more than 50 grams of actual methamphetamine,
a Schedule ll controlled substance, thereby violating 'l`itle 21 , United States Code, Sections

841(3)(1> and 841(b)(1)(A).

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C()UNT 13
On or about January 5, 2018, in the Eastern District of Arkansas, the defendant,
ERIC BALDWIN, a/k/a “E”, a/k/a “LIL’ E”,
did knowingly and intentionally distribute more than 50 grams of actual methamphetamine,
a Schedule ll controlled substance, thereby violating 'l`itle 2 l, United States Code, Sections
84l(a)(l) and 84l(b)(l)(A).
COUNT 14
On or about February 9, 20l8, in the Eastern District of Arkansas, the defendants,
ERIC BALDWIN, a/k/a “E”, a/k/a “LIL’ E”,
NICHOLAS D. ROBINSON, JR., a/k/a “LIL’ NICK”,
ORTEZ WILLIAMS, and LEMAR STEWARD,
did knowingly and intentionally distribute more than 50 grams of actual methamphetamine,
a Schedule ll controlled substance, thereby violating Title 21, United States Code, Sections
84l(a)(l) and 84l(b)(l)(A).
COUNT 15
On or about February l6, 20l 8, in the Eastern District of Arkansas, the defendants,
ERIC BALDWIN, a/k/a “E”, a/k/a “LIL’ E”,
NICHOLAS D. ROBINSON, JR., a/k/a “LIL’ NICK”,
and ROBERT McINTOSH, III,
did knowingly and intentionally distribute more than 50 grams of actual methamplietamine,
a Schedule ll controlled substance, thereby violating Title 2 l , United States Code, Sections
84l(a)(l) and 84l(b)(l)(A).
§_Q_LLN___T__I_§_

Gn or about February 28, 20l 8, in the Eastern District of Arkansas, the defendant,

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CHRISTOPHER JOHN BURCH,
did knowingly and intentionally distribute and possess with intent to distribute more than
50 grams of a mixture or substance containing methamphetamine, a Schedule ll controlled
substance, thereby violating Title 21, United States Code, Sections 841(a)(1) and
841(b)(1)(B).
COUNT 17
On or about April 2, 2018, in the Eastern District of Arkansas, the defendant,
APRIL TREAT, a/k/a “APRIL CULLUM”;
did knowingly and intentionally possess with intent to distribute more than 500 grams of a
mixture or substance containing a detectable amount of methamphetamine, a Schedule ll
controlled substance, thereby violating Title 21, United States Code, Sections 841(a)(l)
and 841(b)(1)(A).
C()UNT 18
On or about April 16, 2018, in the Eastern`District of Arkansas, the defendant,
JOSEPH RIGGINS,
did knowingly and intentionally distribute l\/lDl\/IA (ecstasy), a Schedule l controlled
substance, thereby violating Title 21, United States Code, Sections 841(a)(l) and
84l(b)(1)(C).
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On or about l\/lay 2, 2018, in the Eastern District of Arkansas, the defendant,

ERIC BALDWIN, a/k/a “E”, a/k/a “LIL’ E”,

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did knowingly and intentionally possess with intent to distribute more than 50 grams of
actual methamphetamine, a Schedule ll controlled substance, thereby violating Title 21,_
United States Code, Sections 841(a)(1) and 84l(b)(l)(A).
COUNT 20
On or about May 18, 2018, in the Eastern District of Arkansas, the defendants,
JUSTIN COLLINS, a/k/a/ “DOBBER”, and BLAKE GRAY,
did knowingly and intentionally possess with intent to distribute more than 50 grams of
actual methamphetamine, a Schedule ll controlled substance, thereby violating Title 21,
United States Code, Sections 841(a)(l) and 84l(b)(l)(A).
COUNT 21
A. Prior to l\/lay 13, 2018, the defendant,
NICHOLAS D. ROBINSON, JR., a/k/a “LIL’ NICK”,

had previously been convicted in Coconino County, Arizona, Superior Court for l\/loney
Laundering/Concealed Proceeds, in criminal case CR-2016-01060.

B. The crime set forth in paragraph A above was punishable by a term of
imprisonment exceeding one year.

C. On or about l\/lay 13, 2018, in the Eastern District of Arkansas, the
defeiidant,

NICHOLAS ROBINS()N, JR., a/k/a “LIL’ NICK”,

did knowingly possess a firearm in and affecting commerce, to wit, one Spikes Tactical,
model STl5, semi-automatic pistol, bearing serial number SCR048368, thereby violating

Title 18, United States Code, Section 922(g)(1).

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COUNT 22
On or about l\/lay 16, 2018, in the Eastern District of Arkansas, the defendants,

NICHOLAS D. RGBINSON, JR., a/k/a “LIL’ NICK”,
DEKETRIC HARPER, a/k/a/ “DEE”, and NICHOLAS D. R()BINSON, SR.,

did knowingly and intentionally possess with intent to distribute more than 50 grams of
actual methamphetamine, a Schedule ll controlled substance, thereby violating Title 21,
United States Code, Sections 841(a)(1) and 841(b)(l)(A).
COUNT 23
On or about May 16, 2018, in the Eastern District of Arkansas, the defendants,

NICHOLAS D. ROBINSON, JR., a/k/a “LIL’ NICK”,
DEKETRIC HARPER, a/k/a/ “DEE”, and NICHOLAS D. ROBINSON, SR.,

did knowingly and intentionally possess with intent to distribute less than 50 kilograms of
marijuana, a Schedule l controlled substance, thereby violating Title 21 , United States
Code, Sections 84l(a)(l) and 84l(b)(1)(D).
COUNT 24
On or about l\/lay 16, 2018, in the Eastern District of Arkansas, the defendants,

NICHOLAS D. ROBINS()N, JR., a/k/a “LIL’ NICK”, and
DEKETRIC HARPER, a/k/a/ “DEE”,

did knowingly and intentionally possess with intent to distribute fentanyl, a Schedule ll
controlled substance, thereby violating Title 21, United States Code, Sections 841(a)(1)
and 841(b)(1)(C).

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On or about May 16, 2018, in the Eastern District of Arkansas, the defendants,

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NICHOLAS D. R()BINS()N, JR., a/k/a “LIL’ NICK”,
DEKETRIC HARPER, a/k/a/ “DEE”, and NICHOLAS D. R()BINSON, SR.,

did knowingly and intentionally possess with intent to distribute MDMA (ecstasy), a
Schedule l controlled substance, thereby violating Title 21, United States Code, Sections
841(a)(1) and 841(b)(1)(C).
§_Q_U.N._I_Zé
On or about May 16, 2018, in the Eastern District of Arkansas, the defendants,

NICHOLAS D. ROBINSON, JR., a/k/a “LIL’ NICK”,
DEKETRIC HARPER, a/k/a/ “DEE”, and NICHOLAS D. ROBINSON, SR.,

knowingly possessed at least one of the following firearms, namely: one Romaini/ Cugir,
model DRACO, .762x39 caliber pistol, bearing serial number DB-2096-16RO; one Glock,
model 42, .380 caliber pistol, bearing serial number ABCU007; one Glock, model
26GEN4, 9mm pistol, bearing serial number VDB459; one Herbert Schmidt, .22-caliber
revolver, bearing serial number 300537; one Akkar Silah Sanayi 'l"ic, model Charles Daly
600, lZ~gauge shotgun, bearing serial number 2510435; one Colt, model Law Enforcement
Carbine, 556-caliber rifle, bearing serial number LE487906, and one black, metal,
cylindrical, muffling device approximately 9-1/4 inches in length and 1-5/8 inches in
diameter, in furtherance of a drug trafficking crime prosecutable in a court of the United
States, that is, a violation of Title 21, United States Code, Section 846, as set forth in Count
1 of this lndictment, and violations of Title 21, United States Code, Section 841(a)(l) as
set forth in Counts 22~25 of this lndictment.

All in violation of Title 18, United States Code, Section 924(c)(1)(A).

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§_QU_N_T_Z_Z
On or about l\/lay 16, 2018, in the Eastern District of Arkansas, the defendants,

NICHOLAS D. R()BINSON, JR., a/k/a “LIL’ NICK”,
DEKETRIC HARPER, a/k/a/ “DEE”, and NICHOLAS D. ROBINSON, SR.,

knowingly possessed a firearm silencer, that is, a black, metal, cyliiidrical, muffling device
approximately 9-1/4 inches in length and 1-5/8 inches iii diameter, bearing no serial
iiumber, which firearm was not registered to the defendants in the National Firearms
Registration and Transfer Record, in violation of Title 26, United States Code, Sections
5841, 5845(a)(7), 5861(d), and 5871.
COUNT 28
A. Prior to May 16, 2018, the defendant,
NICHOLAS D. ROBINS()N, JR., a/k/a “LIL’ NICK”,
had previously been convicted in Coconino County, Arizona, Superior Court for l\/loney
Laundering/Concealed Proceeds, in criminal case CR~2016-01060.
B. The crime set forth in paragraph A above was punishable by a term of
imprisonment exceeding one year.
C. On or about l\/lay 16, 2018, in the Eastern District of Arkansas, the
defendant,
NICHOLAS D. ROBINSON, JR., a/k/a “LIL’ NICK”,
did knowingly possess at least one of the following firearms in and affecting commerce, to
wit, one Romarm/ Cugir, model DRACO, .762x39 caliber pistol, bearing serial number

DB-2096-16RO; one Glock, model 42, 380 caliber pistol, bearing serial number

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ABCU007; one Glock, model 26GEN4, 9mm pistol, bearing serial number VDB459; one
Herbert Schinidt, .22-caliber revolver, bearing serial number 300537; one Akkar Silah
Sanayi Tic, model Charles Daly 600, 12-gauge shotgun, bearing serial number 2510435;
one Colt, model Law Enforcement Carbine, 556-caliber rifle, bearing serial number
LE487906, and one black, metal, cylindrical, muffling device approximately 9-1/4 inches
in length and 1~5/ 8 inches in diameter, bearing no serial number thereby violating Title 18,
United States Code, Section 922(g)(1).
COUNT 29
On or about February 27, 2018, in the Eastern District of Arkansas, the defendant,
JOHN CHRISTOPHER BURCH,

knowingly and intentionally used a communication facility, to wit, a telephone, in
comniitting, causing and facilitating conspiracy to distribute and possess with intent to
distribute a controlled substance, as set forth in Count 1 of this lndictment, in violation of
Title 21, United States Code, Section 846.

ln violation of Title 21, United States Code, Section 843(b).

C()UNT 30
On or about lanuary 31, 2018, in the Eastern District of Arkansas, the defendant,
JUSTIN C()LLINS, a/k/a “DOBBER”,

knowingly and intentionally used a communication facility, to wit, a telephone, in
committing, causing and facilitating conspiracy to distribute and possess with intent to
distribute a controlled substance, as set forth in Count l of this lndictment, in violation of

Title 21, United States Code, Section 846.

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ln violation of Title 21, United States Code, Section 843(b).
COUNT 31
On or about l\/larch 10, 2018, in the Eastern District of Arkansas, the defendant,
KAMIE COLLINS,
knowingly and intentionally used a communication facility, to wit, a telephone, in
committing, causing and facilitating conspiracy to distribute and possess with intent to
distribute a controlled substance, as set forth in Count 1 of this lndictment, in violation of
Title 21, United States Code, Section 846.
ln violation of Title 21, United States Code, Section 843(b).
..C.Q_U_N_I_Z>_Z_
On or about February 11, 2018, in the Eastern District of Arkansas, the defendant,
WINDELL FOUNTAIN, a/k/a “CHARLIE”,
knowingly and intentionally used a communication facility, to wit, a telephone, in
committing, causing and facilitating conspiracy to distribute and possess with intent to
distribute a controlled substance, as set forth in Count 1 of this lndictment, in violation of
Title 21, United States Code, Section 846.
ln violation of Title 21, United States Code, Section 843(b).
C()UNT 33
011 or about l\/larch l 1, 2018, in the Eastern District of Arkansas, the defendant,
CHAD LANE,
knowingly and intentionally used a communication facility, to wit, a telephone, in

committiiig, causing and facilitating conspiracy to distribute and possess with intent to

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distribute a controlled substance, as set forth in Count 1 of this lndictment, iii violation of
Title 21, United States Code, Section 846.
ln violation of rl`itle 21, United States Code, Section 843(b).
C()UNT 34
On or about February 16, 2018, in the Eastern District of Arkansas, the defendant,
ROBERT MeINTOSH, III,
knowingly and intentionally used a communication facility, to wit, a telephone, in
committing, causing and facilitating conspiracy to distribute and possess with intent to
distribute a controlled substance, as set forth in Count 1 of this lndictment, in violation of
Title 21, United States Code, Section 846.
ln violation of Title 21, United States Code, Section 843(b).
COUNT 35
On or about February 4, 2018, in the Eastern Distn`ct of Arkansas, the defendant,
LEWIS MILES, a/k/a “PO()TIE ROO”,
knowingly and intentionally used a communication facility, to wit, a telephone, in
committing, causing and facilitating conspiracy to distribute and possess with intent to
distribute a controlled substance, as set forth in Count 1 of this lndictment, in violation of
Title 21, United States Code, Section 846.
ln violation of Title 21, United States Code, Section 843(b).
QQ_LF_NI_Z’»Q
On or about l\/larch 3, 2018, in the Eastern District of Arkansas, the defendant,

LEWIS MILES, a/k/a “POOTIE ROO”,

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knowingly and intentionally used a communication facility, to wit, a telephone, in
committing, causing and facilitating conspiracy to distribute and possess with intent to
distribute a controlled substance, as set forth in Count l of this lndictment, in violation of
Title 21, United States Code, Section 846.

lii violation of Title 21, United States Code, Section 843(b).

§_Q_M_Sl
On or about January 31, 2018, in the Eastern District of Arkansas, the defendant,
AARGN LYNN PARKS,

knowingly and intentionally used a communication facility, to wit, a teleplione, in
committing, causing and facilitating conspiracy to distribute and possess with intent to
distribute a controlled substance, as set forth iii Count 1 of this lndictment, in violation of
Title 21, United States Code, Section 846.

ln violation of Title 21, United States Code, Section 843(b).

_QQLF_M_§§
On or about February 6, 2018, in the Eastern District of Arkaiisas, the defendant,
DEAUNDREY PEOPLES,

knowingly and intentionally used a communication facility, to wit, a telephoiie, in
committing, causing and facilitating conspiracy to distribute and possess with intent to
distribute a controlled substance, as set forth in Count l of this lndictment, in violation of
Title 21, United States Code, Section 846.

lii violation of Title 21, United States Code, Section 843(b).

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COUNT 39
On or about February 11, 2018, in the Eastern District of Arkansas, the defendant,
DEAUNDREY PEOPLES,
knowingly and intentionally used a communication facility, to wit, a telephone, in
committing, causing and facilitating conspiracy to distribute and possess with intent to
distribute a controlled substance, as set forth in Count 1 of this lndictment, in violation of
Title 21, United States Code, Section 846-.
ln violation of 'l`itle 21, United States Code, Section 843(b).
COUNT 40
On or about February 7, 2018, in the Eastern District of Arkansas, the defendant,
CHRISTOPHER SANDERS, a/k/a “CHRIS REPP”,
knowingly and intentionally used a communication facility, to wit, a telephone, in
committing, causing and facilitating conspiracy to distribute and possess with intent to
distribute a controlled substance, as set forth in Count 1 of this lndictment, in violation of
Title 21, United States Code, Section 846.
ln violation of rl`itle 21, United States Code, Section 843(b).
COUNT 41
On or about February 26, 2018, in the Eastern District of Arkansas, the defendant,
CHRISTOPHER SANDERS, a/k/a “CHRIS REPP”,
knowingly and intentionally used a communication facility, to wit, a telephone, in

committing, causing and facilitating conspiracy to distribute and possess with intent to

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distribute a controlled substance, as set forth in Count l of this lndictment, in violation of
Title 21, United States Code, Section 846.
ln violation of Title 21, United States Code, Section 843(b).
COUNT 42
On or about February 7, 2018, in the Eastern District of Arkansas, the defendant,
LEMAR DEVON STEWARD,
knowingly and intentionally used a communication facility, to wit, a telephone, in
committing, causing and facilitating conspiracy to distribute and possess with intent to
distribute a controlled substance, as set forth in Count 1 of this lndictment, in violation of
Title 21, United States Code, Section 846.
ln violation of Title 21, United States Code, Section 843(b).
COUNT 43
On or about February 23, 2018, in the Eastern District of Arkansas, the defendant,
GEORGE PERRY WRIGHT,
knowingly and intentionally used a communication facility, to wit, a telephone, in
committing, causing and facilitating conspiracy to distribute and possess with intent to
distribute a controlled substance, as set forth in Count 1 of this lndictment, in violation of
rl`itle 21, United States Code, Section 846,
ln violation of Title 21, United States Code, Section 843(b).
_C_Q_U_El.éi
On or about l\/lay 9, 2017, in the Eastern District of Arkansas, the defendant,

KHAMBRIA ALLEN,

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knowingly conducted and attempted to conduct a financial transaction affecting interstate
commerce, to wit, a cash transfer to an individual in California via the cash transfer wire
service RlA, reference number XXXXXX057, which involved the proceeds of a specified
unlawful activity, that is the distribution of a controlled substance, knowing that the
transaction was designed in whole and in part to conceal and disguise the nature, source,
ownership, and control of the proceeds of said specified unlawful activity and tliat, while
conducting such financial transaction, knew that the property involved in the financial
transaction represented the proceeds of some form of unlawful activity.
All iii violation of Title 18, United States Code, Section 1956(a)(1)(B)(i).
C()UNT 45
On or about February 12, 2018, in the Eastern District of Arkansas, the defendant,
JGHN CHRIST()PHER BURCH,

knowingly conducted and attempted to conduct a financial transaction affecting interstate
commerce, to wit, a cash transfer to an individual in California via the cash transfer wire
service RlA, reference number XXXXXX187, which financial transaction involved the
proceeds of a specified unlawful activity, that is: the distribution of controlled substances,
with the intent to promote the carrying on of specified unlawful activity, that is: the
distribution of controlled substances, and that while conducting and attempting to conduct
such financial transaction knew that the property involved in the financial transaction
represented the proceeds of some form of unlawful activity.

All in violation of Title 18, United States Code, Section 1956(a)(1)(A)(i).

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COUNT 46
On or about February 11, 2017 , in the Eastern District of Arkansas, the defeiidant,
JUSTIN COLLINS, a/k/a “D()BBER”,

knowingly conducted and attempted to conduct a financial transaction affecting interstate
commerce, to wit, a cash transfer to an individual in California via the cash transfer wire
service RlA, reference number XXXXXX246, which financial transaction involved the
proceeds of a specified unlawful activity, that is: the distribution of controlled substances,
with the intent to promote the carrying on of specified unlawful activity, that is: the
distribution of controlled substances, and that while conducting and attempting to conduct
such financial transaction knew that the property involved in the financial transaction
represented the proceeds of some form of unlawful activity.

All in violation of Title 18, United States Code, Section 1956(a)(1)(A)(i).

COUNT 47
On or about Juiie 28, 2017, in the Eastern District of Arkansas, the defeiidant,
KAMIE COLLINS,

knowingly conducted and attempted to conduct a financial transaction affecting interstate
commerce, to wit, a cash transfer to an individual in California via the cash transfer wire
service RlA, reference number XXXXXX414, which involved the proceeds of a specified
unlawful activity, that is the distribution of a controlled substance, knowing that the
transaction was designed in whole and in part to conceal and disguise the nature, source,

ownership, and control of the proceeds of said specified unlawful activity and that, while

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conducting such financial transaction, knew that the property involved in the financial
transaction represented the proceeds of some form of unlawful activity.

All in violation of Title 18, United States Code, Section 1956(a)(1)(B)(i).

COUNT 48
On or about lune 8, 2017, in the Eastern District of Arkansas, the defendant,
JENNIFER GOSNELL,

knowingly conducted and attempted to conduct a financial transaction affecting interstate
commerce, to wit, a cash transfer to an individual in California via the cash transfer wire
service RIA, reference number XXXXXX854, which involved the proceeds of a specified
unlawful activity, that is the distribution of a controlled substance, knowing that the
transaction was designed in whole and in part to conceal and disguise the nature, source,
ownership, and control of the proceeds of said specified unlawful activity and that, while
conducting such financial transaction, knew that the property involved in the financial
transaction represented the proceeds of some form of unlawful activity.

All in violation of Title 18, United States Code, Section 1956(a)(1)(B)(i).

§_QLF_N_L‘¢_?_
On or about February 11, 2018, in the Eastern District of Arkansas, the defeiidaiit,
JENNIFER GOSNELL,

knowingly conducted and attempted to conduct a financial transaction affecting interstate
commerce, to wit, a cash transfer to an individual in California via the cash transfer wire
service RIA, reference number XXXXXX857, which involved the proceeds of a specified

unlawful activity, that is the distribution of a controlled substance, knowing that the

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transaction was designed in whole and in part to conceal and disguise the nature, source,
ownership, and control of the proceeds of said specified unlawful activity and that, while
conducting such financial transaction, knew that the property involved in the financial
transaction represented the proceeds of some form of unlawful activity.

All in violation of Title 18, United States Code, Section l956(a)(1)(B)(i).

C()UNT 50
On or about November 27, 2017 , in the Eastern District of Arkansas, the defendant,
CHAD LANE,

knowingly conducted and attempted to conduct a financial transaction affecting interstate
commerce, to wit, a cash transfer to an individual in California via the cash transfer wire
service RlA, reference number XXXXXX469, which financial transaction involved the
proceeds of a specified unlawful activity, that is: the distribution of controlled substances,
with the intent to promote the carrying on of specified unlawful activity, that is: the
distribution of controlled substances, and that while conducting and attempting to conduct
such financial transaction knew that the property involved in the financial transaction
represented the proceeds of some form of unlawful activity.

All in violation of Title 18, United States Code, Section 1956(a)(1)(A)(i).

COUNT 51
Oii or about September 30, 2017, in the Eastern District of Arkansas, the defendant,
ROBERT McINTOSH, III,

knowingly conducted and attempted to conduct a financial transaction affecting interstate

commerce, to wit, a cash transfer to an individual iii California via the cash transfer wire

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service RlA, reference number XXXXXX607, which financial transaction involved the
proceeds of a specified unlawful activity, that is: the distribution of controlled substances,
with the intent to promote the carrying on of specified unlawful activity, that is: the
distribution of controlled substances, and that while conducting and attempting to conduct
such financial transaction knew that the property involved in the financial transaction
represented the proceeds of some form of unlawful activity.

All in violation of Title 18, United States Code, Section 1956(a)(1)(A)(i).

.C.Q_UEI_§Z.
Oii or about October 19, 2017, in the Eastern District of Arkansas, the defendant,
LEWIS MILES, a/k/a “POOTIE R()O”,

knowingly conducted and attempted to conduct a financial transaction affecting interstate
commerce, to wit, a cash transfer to an individual in California via the cash transfer wire
service RlA, reference number XXXXXX453, which financial transaction involved the
proceeds cfa specified unlawful activity, that is: the distribution of controlled substances,
with the intent to promote the carrying on of specified unlawful activity, that is: the
distribution of controlled substances, and that while conducting and attempting to conduct
such financial transaction knew that the property involved in the financial transaction
represented the proceeds of some form of unlawful activity.

All in violation of Title 18, United States Code, Section 1956(a)(1)(A)(i).

COUNT 53
On or about November 20, 2017, in the Eastern District of Arkansas, the defendant,

LEWIS MILES, a/k/a “POOTIE R()O”,

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knowingly conducted and attempted to conduct a financial transaction affecting interstate
commerce, to wit, a cash transfer to an individual in California via the cash transfer wire
service RlA, reference number XXXXXX845, which financial transaction involved the
proceeds of a specified unlawful activity, that is: the distribution of controlled substances,
with the intent to promote the carrying on of specified unlawful activity, that is: the
distribution of controlled substances, and that while conducting and attempting to conduct
such financial transaction knew that the property involved in the financial transaction
represented the proceeds of some form of unlawful activity.

All in violation of Title 18, United States Code, Section l956(a)(1)(A)(i).

FORFEITURE ALLEGATION 1

Upon conviction of the offense alleged in Count 21, 26, 27, or 28 of this lndictment,
the defendants, NlCH()LAS D. ROBlNSON, JR., a/k/a “LlL’ NICK”, DEKETRIC
HARPER, a/k/a/ “DEE”, and NlCHOLAS D. ROBINSON, SR., shall forfeit to the United
States pursuant to Title 18, United States Code, Section 924(d), Title 21, United States
Code Section 843, and Title 28, United States Code, Section 2461(c), all firearms and
ammunition involved in the commission of the offense, including, but not limited to one
Spikes Tactical, model ST15, senn-automatic pistol, bearing serial number SCR048368;
one Romarm/ Cugir, model DRACO, .762x39 caliber pistol, bearing serial number DB-
2096-16RO; one Glock, model 42, .380 caliber pistol, bearing serial number ABCU007;
one Glock, model 26GEN4, 9mm pistol, bearing serial number VDB459; one Herbert
Schmidt, .22-caliber revolver, bearing serial number 300537; one Akkar Silah Sanayi Tic,

model Charles Daly 600, 12-gauge shotgun, bearing serial number 2510435; one Colt,

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model Law Enforcement Carbine, 556-caliber rifle, bearing serial number LE487906, and
a black, metal, cylindrical, muffling device approximately 9-1/4 inches in length and 1-5/ 8
inches in diameter, bearing no serial number.
F()RFEITURE ALLEGATION 2

Upon conviction of the offense alleged in Counts 1, 14, 15, or 22-25 of this
lndictment, the defendants, NlCHOLAS D. ROBINSGN, JR., a/k/a “LlL’ NlCK”,
DEKETR[C HARPER, a/k/a/ “DEE”, and NlCHOLAS D. ROBlNSON, SR, shall forfeit
to the United States pursuant to Title 21, United States Code, Section 853, all firearms and
ammunition used, or intended to be used, in any manner or part, to commit, or to facilitate
the commission of the offenses, including, but not limited to one Spikes Tactical, model
ST15, semi-automatic pistol, bearing serial number SCR048368; one Romarm/ Cugir,
model DRACO, .762x39 caliber pistol, bearing serial number DB-2096-16RO; one Glock,
model 42, .3 80 caliber pistol, bearing serial number ABCU007; one Glock, model
26GEN4, 9mm pistol, bearing serial number VDB459; one Herbert Schmidt, .22~caliber
revolver, bearing serial number 300537; one Akkar Silah Sanayi Tic, model Charles Daly
600, 12-gauge shotgun, bearing serial number 2510435; one Colt, model Law Enforcement
Carbine, 556-caliber rifle, bearing serial number LE487906, and a black, metal,
cylindrical, muff`ling device approximately 9-1/4 inches in length and 1-5/8 inches in

diameter, bearing no serial number.

[End of text. Signature page to follow.]

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